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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


UNITED STATES OF AMERICA

-v-                                             CASE NO. 6:09-CR-49-ORL-35KRS

YVON DORT
_____________________________________


                                         ORDER

       This case having been considered by the Court on the Report and Recommendation

Concerning Plea of Guilty (Doc. No. 26, filed June 3, 2009) and no objection thereto having

been filed, it is ORDERED:

       1.     The Report and Recommendation of the United States Magistrate Judge

(Doc. No. 26) is ACCEPTED, AFFIRMED AND ADOPTED.

       2.     Defendant Yvon Dort has entered a plea of guilty to Counts Three and Four

of the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

Defendant is adjudicated guilty of Counts Three and Four of the Indictment.

       DONE AND ORDERED at Orlando, Florida, this 22nd day of June, 2009.




Copies to:
Assistant United States Attorney
Attorney for Defendant
United States Marshal
United States Probation
United States Pretrial Services
